                                         UNITED STATES DISTRICT COURT
                                         WESTERN DISTRICT OF MISSOURI

                                       CRIMINAL CASE COVER SHEET
County of Offense / Division of Filing                          Matter to be Sealed
                                                                                       ■   Secret Indictment
Greene / Southern
                                                                                           Juvenile
Defendant Information
Defendant Name:           Gregory D. Robinson

Alias Name:

Birth Date:               4-14-1977
Related Case Information
Superseding Indictment?                                                             20-03041-CR-S-MDH
                              ■    Yes         No If yes, original case number:
New Defendant(s)?                  Yes     ■   No
Prior Complaint Case Number, if any:       20-mj-2026DPR

Prior Target Letter Case Number, if any:
U.S. Attorney Information
AUSA Jessica R. Sarff

Interpreter Needed?
    Yes    Language and/or Dialect:
■   No

Location Status
Arrest Date:
■   Currently in Federal Custody                                                     Writ Required?               Yes       ■   No
    Currently in State Custody                                                                                    Yes       ■   No
                                                                                     Warrant Required?
    Currently on Bond

U.S.C. Citations
Total # of Counts         5 with FA

     Set                       Index Key & Description of Offense Charged                                      Count(s)

      1        21:846=CD.F CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCE                                          1

      2        21:841B=CP.F CONTROLLED SUBSTANCE - POSSESSION WITH INTENT TO DIST                               4, 10

      3        18:924C.F VIOLENT CRIME/DRUGS/MACHINE GUN                                                         11

      4        18:922G.F UNLAWFUL TRANSPORT OF FIREARMS, ETC.                                                    12



                                                    (May be continued on reverse)                              Revised: 04-25-2018
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Set                  Index Key & Description of Offense Charged              Count(s)


5     21:853.F CRIMINAL FORFEITURES                                            FA


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